Case 2:94-cr-00108-EAK' Document 6 Filed 12/02/94 Page 1 of 8 P_age`iD 776

/

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED sTATEs oF AMERICA
et nix

v. cAsE No. 94-/6¥-cr-FTM-,.'

JERMAINE A. YOUNG,

wILLIE JAMES coLBERT, JR., a/k/a

"Hit Man", and

ToNJA LAVERNE YoUNG

l!DLQIL§EI

The Grand Jury charges that:
COUNT ONE
From on or about, November 16, 1994, through on, or about
November 17, 1994, in Charlotte County, in the Middle District of
Florida and elsewhere,
JERMAINE A. YOUNG,
wILLIE JAMES CoLBERT, JR., a/k/a
"Hit Man", ana
TONJA LAVERNE YOUNG,
defendants herein, did knowingly and willfully combine, conspire,
confederate and agree with each other and with other persons known
and unknown to the Grand Jury to, with the intent to cause death
and serious bodily harm, take from the person and presence of
another, namely, Donna Jean Anderson, by force and violence and by
intimidation, a motor vehicle, that is, a Chevrolet Astro Van, that
had been transported, Shipped, and received in interstate commerce,
in violation of Title 18, United States Code, Section 2119.
OVERT ACTS
In furtherance of the conspiracy and to effect the objects

thereof, the following overt acts, among others, were committed in

the Middle District of Florida, and elsewhere:

Case 2:94-Cr-00108-EAK Document 6 Filed 12/02/94 Page 2 of 8 Page|D 777

l. On or about November 16, 1994, as other co-conspirators
sat in an adjacent stolen white Buick, defendants Jermaine A. Young
and Willie James Colbert, Jr., with the use of firearms, ordered
and forced Donna Jean Anderson into her Chevrolet Astro van as she
was entering the vehicle in the parking lot of the Port Charlotte
Town Center mall. During this abduction, defendant Tonja Laverne
Young got out of the white Buick and stood to the rear of the
victim's van.

2. On or about November 16, 1994, defendants Jermaine A.
Young, Willie James Colbert, Jr., Tonja Laverne Young and other co-
conspirators abducted Donna Jean Anderson and drove her Chevrolet
Astro van from Port Charlotte, Florida, to Albany, Georgia.

3. On or about November 16, 1994, while defendants Willie
James Colbert, Jr., Tonja Laverne Young and other co-conspirators
were present in the Chevrolet van holding victim Donna Jean
Anderson against her will, defendant Jermaine A. Young threatened
Donna Jean Anderson by telling her that if she did not cooperate
and be quiet she would be killed.

4. On or about November 16, 1994, while defendants Willie
James Colbert, Jr., Tonja Laverne Young and other co-conspirators
were present in the Chevrolet van. holding victim Donna Jean
Anderson against her will, defendant Jermaine A. Young burned Donna
Jean Anderson with a cigarette lighter from_the Chevrolet van, and
repeatedly struck and kicked Donna Jean Anderson.

5, On or about November 16, 1994, defendants Jermaine A.

Young, Willie James Colbert, Jr., Tonja Laverne Young caused Donna

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 3 of 8 Page|D 778

Jean Anderson's mouth to be taped, her hands and feet to be tied,
and forced her to lie on the floor of the Chevrolet van.

6. On or about November 16, 1994, in the Albany, Georgia
area, defendants Jermaine A. Young and Willie James Colbert, Jr.
drove victim Donna Jean Anderson and the Chevrolet van to a marina
on the Flint River' where 'they attempted to -drown Donna Jean
Anderson by driving the van and victim down the boat ramp into the
water.

7. On or about November 16, 1994, in the Albany, Georgia
area, defendants Jermaine A. Young and Willie James Colbert, Jr.
dragged victim Donna Jean Anderson out of the van and carried her
to a remote wooded area where they tried to beat the victim to
death and threw her into the bushes leaving her for dead.

All in violation of Title 18, United States Code, Section 371.

COUNT TWO

On or about November 16, 1994, in Charlotte County, in the

Middle District of Florida,

JERMAINE A. YOUNG,

wILLIE JAMES coLBERT, JR., a/k/a
"Hit Man", and

TONJA LAVERNE YOUNG,
defendants herein, did knowingly and willfully with the intent to
cause death and serious bodily harm take from the person and
presence of another, namely, Donna Jean Anderson, by force and
violence and by intimidation, a motor vehicle, that is, a Chevrolet

Astro Van, that.had been transported, shipped, and received in

interstate commerce.

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 4 of 8 Page|D 779

In violation of Title 18 United States Code, Section 2119, and
Section 2.

COUNT THREE

From on or about jNovember 16, 1994, through on or about
November 17, 1994, in Charlotte County, in the Middle District of
Florida and elsewhere,

JERMAINE A. YOUNG,

WILLIE JAMES COLBERT, JR., a/k/a
"Hit Man", and

TONJA LAVERNE YOUNG,
defendants herein, did knowingly and willfully combine, conspirer
confederate and agree with each other and with other persons known
and unknown to the Grand Jury to unlawfully seizedl confine, kidnap,
abduct, and carry away and hold 21 person, namely, Donna Jean
Anderson and willfully transport Donna Jean Anderson in interstate
commerce fron\ Port CharlotteJr Florida, to .Albany, Georgia, in
violation of Title 18, United States Code, Section lZOl{a).

OVERT AC‘I'S

In furtherance of the conspiracy and to effect the objects
thereof, the following overt acts, among others, were committed in
the Middle District of Florida, and elsewhere:

l. On or about November 16, 1994, as other co»conspirators
sat.in an adjacent stolen white lE!uic}\:Jr defendants Jermaine A. Young
and Willie James Colbert, Jr., with the use of firearms, ordered
and forced Donna Jean Anderson into her Chevrolet Astro van as she
was entering the vehicle in the parking lot of the Port Charlotte

Town Center mall. During this abduction, defendant Tonja Laverne

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 5 of 8 Page|D 780

Young got out of the white Buick and stood to the rear of the
victim's van.

2. On or about November 16, 1994, defendants Jermaine A.
Young, Willie James Colbert, Jr., Tonja Laverne Young and other co-
conspirators abducted Donna Jean Anderson and drove her Chevrolet
Astro van from Port Charlotte, Florida, to Albany, Georgia.

3. On or about November 16, 1994, while defendants Willie
James Colbert, Jr., Tonja Laverne Young and other co-conspirators
were present in the Chevrolet van holding victim Donna Jean
Anderson against her will, defendant Jermaine A. Young threatened
Donna Jean Anderson by telling her that if she did not cooperate
and be quiet she would be killed.

4. On or about November 16, 1994, while defendants Willie
James Colbert, Jr., Tonja Laverne Young and other co-conspirators
were present in the Chevrolet van holding victim Donna Jean
Anderson against her willr defendant Jermaine A. Young burned Donna
Jean Anderson with a cigarette lighter from the Chevrolet van, and
repeatedly struck and kicked Donna Jean Anderson.

5. On or about November 16, 1994, defendants Jermaine A.
Young, Willie James Colbert, Jr., Tonja Laverne Young caused Donna
Jean Anderson's mouth to be taped, her hands and feet to be tied,
and forced her to lie on the floor of the Chevrolet van.

6. On or about November 16, 1994, in the Albany, Georgia
area, defendants Jermaine A. Young and Willie James Colbert, Jr.
drove victim Donna Jean Anderson and the Chevrolet van to a marina

on ‘the Flint 'River where they attempted to drown Donna Jean

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 6 of 8 Page|D 781

Anderson by driving the van and victim down the boat ramp into the
water.

7. On or about November 16, 1994, in the Albany, Georgia
area, defendants Jermaine A. Young and Willie James Colbert, Jr.
dragged victim Donna Jean Anderson out of the van and carried her
to a remote wooded area where they tried to beat the victim to
death and threw her into the bushes leaving her for dead.

All in violation of Title 18, United States Code, Section
1201(0).

QQQBI_EQ§B

On or about November 16, 1994, in Charlotte County, in the

Middle District of Florida, the defendants,

JERMAINE A. YOUNG,

WILLIE JAMES COLBERT, JR., a/k/a
"Hit Man"f and

TONJA LAVERNE YOUNG,
defendants herein, did knowingly, willfully, and unlawfully seize,
confine, kidnap, abduct, and carry away and hold a person, namely,
Donna Jean Anderson and willfully transport Donna Jean Anderson in
interstate commerce from Port Charlotte, Florida, to Albany,
Georgia.

In violation of Title 18, United States Code, Section lZOl(a),
and Section 2.

COUNT FIVE

On or about November 16, 1994, in Charlotte County, in the
Middle District of Florida, the defendants,

JERMAINE A. YOUNG, and
WILLIE JAMES COLBERT, JR., a/k/a

"Hit Man",

6

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 7 of 8 Page|D 782

defendants herein, did knowingly use and carry firearms, namely, a
Smith & Wesson .38 caliber revolver, Model 36, and an F.I¢E .22
caliber revolver, Model El§, during and in relation to a crime of
violence for which they may be prosecuted in a court of the United
States, to wit, Carjacking, in violation of Title 18, United States
Code, Section 2119, as charged in Count Two of this Indictment,
which is incorporated by reference as though fully set forth
herein, and Kidnapping, in violation of Title 18, United States
Code, Section izol(a), as charged in Count Four of this Indictmentr
which is incorporated by reference as though fully set forth
herein.

In violation of Title 18, United States Code, Section 924(c),
and Section 2.

A TRUE BILL

l.
.- ?

_ _ . ./_!l . _.
;Z§i ¢LL{_ é,i.»¢»~t.q.f. .. '7-? ~ \" " {"- t ‘::::
FOREPERSON w

 

CHARLES R. WILSON
United States Attorney

/ W
a/€'E/ MICHELLAND
ssistant United States Attorney

BY:

   

BY:

 

bWY §§
Managing Assistant U ited es Attorney

Case 2:94-Cr-OOlO8-EAK Document 6 Filed 12/02/94 Page 8 of 8 Page|D 783

emma aw=-w+
:».m#

Zo... . . __ ;l

CZ:]mU m.H>Hmm stead OOC~S.

§ sons U~.&I.o» o\ e.rox:c>

done zwmxm ~wr;m?:_

 

jim CZ:mU mH>Hmm 01 >§m_£m>

H.m_

mmHBmHoo P. mecomv

ZHWHHQ um§mm nchon“.mH.. m\w\m
:men Kms: mod

odost woodson -Aocsm_. .

 

~zU~n,E/\_m_ZH
HZ cHOFYHHOZ own wm E.m.O. m umw
wm E.m.n. w Nwww
wm E.m.n. m HNOHMoW
Hm G.m.n. w HNOH m
mm Uuwumu m Wwehnc

 

h :_:. T;__ `;
» .__. .. . ~…... . \ ./ _. .H .._..l .. .
__\M____w§ owen d . §§ _,_ .- ,\._\

hc§.:_n:

 

__4_._:.:q a.___ _________ I:_:; 225 . ____:,______

E. b U. ~o .

F.__EL.,

 

»_~:;. m

 

